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                         IN THE UNITED STATE DISTRICT COURT                      DATE FILED: 09/30/2020
                       FOR THE SOUTHERN DISTRICT OF NEW YORK



 AQUAVIT PHARMACEUTICALS, INC.
                                                     )
                                                     )
                                                                          MEMO ENDORSED
                                                     )
                                  Plaintiff,         )
                                                     )     NO. l:19-cv-3351-VEC-RWL
                  v.                                 )
                                                     )
 U-BIO MED, INC.                                     )
 GLOBAL MEDI PRODUCTS, and                           )
 NYUN SHI EUM aka NYEON-SIK EUM,                     )
                                                     )
                                  Defendants.        )
                                                     )


                         DEFENDANTS’ MOTION TO AMEND
              THE DEFAULT JUDGMENT AGAINST GLOBAL MEDI PRODUCTS

         Defendants U-Bio Med, Inc. (“UBM”) and Nyeon-Sik Eum (“EUM”) move to amend the

Default Judgment Against Global Medi Products (“GMP”) [DE 192] pursuant to Federal Rule of

Civil Procedure 59(e) by revising the last sentence of the Judgment.

         The last sentence of the Judgment states, “Damages will be determined at the conclusion of
the case against the remaining defendants” (emphasis added). Defendants believe that the last

sentence was added to satisfy the provision of Fed.R.Civ.P. 54(b) that unless “the court expressly

determines that there is no just reason for delay” in entering the judgment, then the judgment

would not finalize Plaintiff’s action against GMP.

         But as currently worded, the last sentence could be used to falsely claim or suggest that

Plaintiff had not only “defeated” GMP, but had also defeated UBM and EUM on the merits, that

a relationship existed between GMP and Defendants UBM and EUM, and that Plaintiff was

owed damages from UBM and EUM that would be determined at the conclusion of the case. But

all of that would be untrue.




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                 GMP is a fictitious Korean entity. It does not exist. There is no evidence of any

        association of this fictitious “GMP” entity with Defendants except for its mention in the

        “Exclusive Worldwide Licensing Agreement” (“EWLA”), a document drafted by Plaintiff that is

        attached as Exhibit 1 to the Complaint [DE 1]. GMP is named on the first page of the EWLA

        after the qualifier, “as applicable.” But GMP is not mentioned anywhere else in the EWLA.

        There is no signature line for GMP in the EWLA. No one signed the EWLA on behalf of GMP.

                 Defendants UBM and EUM have denied every factual allegation in the Complaint

        concerning the existence of GMP and any connection between the fictitious GMP entity and

        UBM or EUM. Compare Complaint [DE 1] at ¶ ¶ 19, 20, 53, and 189 with the corresponding

        paragraphs of Defendants’ Answers [DE 98, 113, and 129]. As a fictitious entity, GMP did not

        appear, had no representation, and took no part in this action.

                 Both sides are seeking damages from the other and no damages have yet been adjudicated

        in this action.

                 Accordingly, Defendants request that the last sentence be revised to state:

                          “There is no just reason for delaying entry of a final judgment
                          against Global Medi Products. The rights and liabilities of the
                          remaining parties may be adjudicated separately, and judgment
                          entered as to them at the conclusion of the case.”
                 This revision complies with the requirement of Rule 54(b) using neutral language that is

        not susceptible to being misused.
                                                           Respectfully submitted,


        Dated:        September 28, 2020                   /s/ Thomas J. Vetter
Motion DENIED. The sentence at issue is clear and          Thomas J. Vetter (TV 0364)
                                                           LUCAS & MERCANTI, LLP
does not in any way imply that Defendant U-Bio
                                                           30 Broad Street
Med, Inc. or Defendant Nyeon-Sik Eum currently
                                                           New York, NY 10004
or will in the future owe Plaintiff any damages.
                                                           Email: tvetter@lmiplaw.com
SO ORDERED.                                                Tel.: (212) 661-8000
                                                           Attorneys for U-Bio Med, Inc. and
                                                           Nyeon-Sik Eum
                           Date: September 30, 2020
HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE
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